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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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 HAROLD BROWN SR., et al.,                                       :
                                                                 :
                                                                 :   ORDER REGULATING
                                                                 :   PROCEEDINGS
                                          Plaintiffs,
                                                                 :
              -against-                                          :   19 Civ. 11876 (AKH)
                                                                 :
                                                                 :
                                                                 :
 NATIONAL BANK OF PAKISTAN,                                      :
                                          Defendants.            :
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ALVIN K. HELLERSTEIN, U.S.D.J.:

                 Oral argument on Defendant’s motion to dismiss, previously scheduled for

January 5, 2021, will be held on Thursday, December 17, 2020, at 10:00 a.m., which conference

will be held via the following call-in number:

                 Call-in number: 888-363-4749

                 Access code: 7518680

                 To ensure that the call proceeds smoothly and to avoid disruption, the Court

directs those calling in (other than counsel) to mute their telephones. Additionally, all

participants are directed to call in 5 minutes prior to the start of the conference.

                 Finally, no later than December 15, 2020, at 12:00 p.m., the parties shall jointly

submit to the court (via the email address HellersteinNYSDChambers@nysd.uscourts.gov) a list

of all counsel expected to appear on the record, along with their contact information.



                 SO ORDERED.

Dated:           November 9, 2020                    ________/s/ Alvin K. Hellerstein____________
                 New York, New York                       ALVIN K. HELLERSTEIN
                                                           United States District Judge
